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 1   TRACY L. WILKISON
     Acting United States Attorney
 2   CHRISTOPHER D. GRIGG
     Assistant United States Attorney
 3   Chief, National Security Division
     ANIL J. ANTONY (Cal. Bar No. 258839)
 4   Assistant United States Attorney
     Chief, Cyber & Intellectual Property Crimes Section
 5        312 North Spring Street
          Los Angeles, California 90012
 6        Telephone: (213) 894-6579
          Facsimile: (213) 894-2927
 7        E-mail:    anil.j.antony@usdoj.gov

 8   Attorneys for Plaintiff
     UNITED STATES OF AMERICA
 9
                            UNITED STATES DISTRICT COURT
10
                       FOR THE CENTRAL DISTRICT OF CALIFORNIA
11
     UNITED STATES OF AMERICA,               No. CR 20-00322-ODW
12
               Plaintiff,                    NOTICE OF LODGING OF CERTIFICATE
13                                           OF SERVICE
                     v.
14
     RAMON OLORUNWA ABBAS,
15     aka “Ray Hushpuppi,”
       aka “Hush,”
16
               Defendant.
17

18

19        Please take notice that Plaintiff, United States of America, by
20   and through its counsel of record, the United States Attorney’s
21   Office for the Central District of California, hereby lodges the
22   //
23   //
24   //
25   //
26   //
27   //
28
     Case 2:20-cr-00322-ODW Document 42 Filed 04/09/21 Page 2 of 3 Page ID #:225



 1   Certificate of Service re: GOVERNMENT’S EX PARTE APPLICATION TO SEAL

 2   DOCUMENT, ORDER TO SEAL DOCUMENT, and UNDER SEAL DOCUMENT.

 3

 4   Dated: April 9, 2021                 Respectfully submitted,

 5                                        TRACY L. WILKISON
                                          Acting United States Attorney
 6
                                          CHRISTOPHER D. GRIGG
 7                                        Assistant United States Attorney
                                          Chief, National Security Division
 8

 9                                              /S/
                                          ANIL J. ANTONY
10                                        Assistant United States Attorney
11                                        Attorneys for Plaintiff
                                          UNITED STATES OF AMERICA
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 1                               CERTIFICATE OF SERVICE

 2

 3        I, Amy Bondi, declare:

 4        That I am a citizen of the United States and a resident of or

 5   employed in Los Angeles County, California; that my business address is

 6   the Office of United States Attorney, 312 North Spring Street, Los

 7   Angeles, California 90012; that I am over the age of 18; and that I am not

 8   a party to the above-titled action;

 9        That I am employed by the United States Attorney for the Central

10   District of California, who is a member of the Bar of the United States

11   District Court for the Central District of California, at whose direction

12   I served a copy of:
       EX PARTE APPLICATION TO SEAL, ORDER TO SEAL, UNDER SEAL DOCUMENT.
13

14
      ☐ Placed in a closed envelope for       ☐ Placed in a sealed envelope for
15      collection and inter-office             collection and mailing via
        delivery, addressed as follows:         United States mail, addressed as
16                                              follows:

17
      ☒ By hand delivery, addressed as        ☐ By facsimile, as follows:
18      follows:

19    ☒ Via email, as follows:                ☐ By Federal Express, as follows:
      Louis J. Shapiro
20    10100 Santa Monica Blvd., Suite
      300
21
      Los Angeles, CA 90067
22    LouisJShapiro@gmail.com

23

24   This Certificate is executed on April 9, 2021, at Los Angeles, California.

25   I certify under penalty of perjury that the foregoing is true and correct.

26                                           Amy Bondi
                                             Amy Bondi
27                                           Legal Assistant

28
